Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 1 of 15 PageID #: 2580




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                                                                     EXHIBIT

                                                                        24
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 2 of 15 PageID #: 2581
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 3 of 15 PageID #: 2582
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 4 of 15 PageID #: 2583
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 5 of 15 PageID #: 2584
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 6 of 15 PageID #: 2585
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 7 of 15 PageID #: 2586
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 8 of 15 PageID #: 2587
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 9 of 15 PageID #: 2588
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 10 of 15 PageID #: 2589
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 11 of 15 PageID #: 2590
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 12 of 15 PageID #: 2591
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 13 of 15 PageID #: 2592
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 14 of 15 PageID #: 2593
Case: 4:16-cv-01637-NCC Doc. #: 77-24 Filed: 08/31/18 Page: 15 of 15 PageID #: 2594
